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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE

 DINNER TABLE ACTION et al.,             )
                                         )
              Plaintiffs                 )
                                         )
 v.                                      )       No. 1:24-cv-00430-KFW
                                         )
 WILLIAM J. SCHNEIDER,                   )
 in his official capacity as             )
 Chairman of the Maine                   )
 Commission on Governmental              )
 Ethics and Election Practices,          )
 et al.,                                 )
                                         )
              Defendants                 )

                      ORDER ON MOTION TO INTERVENE

       In this case, the Plaintiffs challenge the constitutionality of Maine’s “An Act to

 Limit Contributions to Political Action Committees That Make Independent

 Expenditures,” which was enacted by citizens’ initiative in November 2024.

 The Defendants—the members of the Maine Commission on Governmental Ethics

 and Election Practices and the Maine Attorney General—have agreed not to enforce

 the Act until May 30, 2025, to allow time to resolve this case and avoid the need to

 litigate a temporary restraining order. See ECF No. 12. Given this tight timeframe,

 both sides agreed to a short briefing schedule with the goal of holding a final hearing

 sometime in March or early April 2025; the Plaintiffs have already filed their motion

 for a permanent injunction and the Defendants have already filed their opposition to

 that motion. See ECF Nos. 12, 16, 45.




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       On    January    24,    2025,   the   nonpartisan   fair     elections   organization

 EqualCitizens, citizens’ initiative proponents Cara and Peter McCormick, and Maine

 State Senator Richard A. Bennett jointly moved to intervene as of right or,

 alternatively, with the Court’s permission, to defend the constitutionality of the Act.

 See Motion (ECF No. 17).       The Plaintiffs oppose intervention, arguing that the

 Putative Intervenors have failed to show they are entitled to intervention as of right

 and that their addition to the case would cause undue delay.               See Opposition

 (ECF No. 35). The Defendants do not oppose intervention.

       On February 24, 2025, I held oral argument on the motion to intervene. The

 Putative Intervenors emphasized that they do not wish to cause delay and that they

 stand ready to file their opposition to the Plaintiffs’ motion for a permanent

 injunction. They clarified that, if they are permitted to intervene, they intend to

 submit with their opposition evidence from three experts totaling approximately

 one-hundred pages. The Plaintiffs bemoaned the idea of being tag-teamed by the

 Defendants and the Putative Intervenors and pointed out that they might have to

 conduct additional discovery or submit additional evidence if the Putative

 Intervenors are allowed to submit evidence. For their part, the Defendants clarified

 that, although they might move to submit some of the same evidence if intervention

 is denied, they are not totally aligned with the Putative Intervenors. The Defendants

 also noted that they would likely be amenable to delaying enforcement of the Act by

 another month or two if necessary.




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        I will begin—and, it turns out, end—my analysis with whether the Putative

 Intervenors should be permitted to intervene.        See Penobscot Nation v. Mills,

 No. 1:12-cv-254-GZS, 2013 WL 3098042, at *5 (D. Me. June 18, 2013) (granting

 permissive intervention without considering whether the intervenors were entitled

 to intervention as of right). Fed. R. Civ. P. 24(b) gives courts broad discretion to

 “allow the intervention of any party who ‘has a claim or defense that shares with the

 main action a common question of law or fact.’”       T-Mobile Ne. LLC v. Town of

 Barnstable, 969 F.3d 33, 40 (1st Cir. 2020) (quoting Fed. R. Civ. P. 24(b)(1)(B)).

 In considering whether to permit intervention, courts “must consider whether the

 intervention will unduly delay or prejudice the adjudication of the original parties’

 rights” and may consider any other relevant factors.           Id. (quoting Fed. R.

 Civ. P. 24(b)(3)).

        As an initial matter, the Putative Intervenors seek to intervene to defend the

 constitutionality of the Act, so they clearly have a “defense that shares with the main

 action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B). The Plaintiffs

 do not assert otherwise but argue that the Putative Intervenors should not be

 permitted to intervene because (1) the Defendants will adequately represent their

 interests, (2) they can raise their legal arguments through a less intrusive amicus

 brief, and (3) their motion to intervene is untimely and, if granted, will cause delay

 by necessitating “additional discovery and additional briefing.” Opposition at 6-7.

        As to their first point, the Plaintiffs are right that, even in the context of

 permissive intervention, weight “should ordinarily” be given “to whether the original




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 parties to the action adequately represent the interests of the putative intervenors.”

 T-Mobile, 969 F.3d at 41. Here, although their interests are not totally aligned, it is

 fair to say that the Defendants and the Putative Intervenors agree on many issues—

 indeed, the Defendants indicate that they will seek to submit some of the same

 evidence if intervention is denied. See ECF No. 45 at 15. But even if this factor

 weighs against intervention, my discretion under Rule 24(b) is “very broad” and I am

 “free to consider” also “whether the [Putative Intervenors] may be helpful in fully

 developing the case.” T-Mobile, 969 F.3d at 41-42 (cleaned up). Given that the

 Putative Intervenors can offer a unique perspective from the Defendants and will put

 forth a distinct originalist defense of the Act, I find that they will add value to this

 litigation, which weighs in favor of permitting intervention. See 6 James Wm. Moore

 et al., Moore’s Federal Practice § 24.10 (LEXIS through Mar. 2025) (noting that courts

 are inclined to permit intervention if “the movant’s input is likely to make a

 significant and useful contribution to the development of the underlying factual and

 legal issues”).

        With regard to the Plaintiffs’ second point, I am not persuaded that the

 Putative Intervenors can adequately raise their arguments in an amicus brief. “[A]

 district court should not consider arguments raised by amici that go beyond the issues

 raised by the parties,” Victim Rts. L. Ctr. v. Rosenfelt, 988 F.3d 556, 564 n.8

 (1st Cir. 2021), and the Defendants have explicitly disavowed any intention to raise

 an originalist defense of the Act if intervention is denied. Accordingly, I would be




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 precluded from considering any novel arguments raised in an amicus brief filed by

 the Putative Intervenors.

       That leaves the Plaintiffs’ arguments about timeliness and undue delay.

 Although they certainly might have moved to intervene sooner, the Putative

 Intervenors filed their motion a mere six weeks after the start of this case; given the

 level of coordination required to file their detailed motion, declarations, and proposed

 answer and that the timeframe in question encompassed the end of the year holiday

 season, I find the motion timely filed. See R & G Mortg. Corp. v. Fed. Home Loan

 Mortg. Corp., 584 F.3d 1, 8 (1st Cir. 2009) (noting that “there are no ironclad rules

 about just how [quickly], in terms of days or months, a person must move to”

 intervene after learning of a case).

       As for delay, there is no denying that adding the Putative Intervenors to this

 case may require extending some deadlines. The Putative Intervenors indicate that

 they will abide by the same deadlines as the Defendants and will not seek discovery

 beyond what the Defendants seek, but they do not entirely come to grips with the fact

 that their insertion into the case will require the Plaintiffs to respond to new

 arguments and evidence, which may, in turn, require the Plaintiffs to engage in

 discovery and/or submit rebuttal evidence. Nevertheless, “delay in and of itself does

 not mean that intervention should be denied,” 7C Mary Kay Kane, Federal Practice

 and Procedure § 1913 (Westlaw through June 2024), and I conclude that the schedule

 can be adjusted to avoid any significant delay or prejudice to the Plaintiffs.




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       Because the balance of the relevant factors weighs in favor of permitting

 intervention, the Putative Intervenors’ motion to intervene is GRANTED on the

 condition that the now Intervenor-Defendants will not seek discovery beyond that

 sought by the original Defendants and will be subject to the same deadlines as the

 original Defendants.    The Intervenor-Defendants shall file their answer and

 opposition to the Plaintiffs’ motion for a permanent injunction by February 26, 2025.

 The Plaintiffs shall review the Intervenor-Defendants’ opposition and accompanying

 evidence, meet and confer with the Intervenor-Defendants and the original

 Defendants to discuss how the schedule may need to be adjusted, and submit a status

 report with proposed deadlines by March 5, 2025. The deadline for the Plaintiffs to

 file a reply in support of their motion for a permanent injunction, which was

 previously set for February 28, 2025, is STAYED pending further order.

       SO ORDERED.

       Dated: February 25, 2025

                                              /s/ Karen Frink Wolf
                                              United States Magistrate Judge




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